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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
ve
MICHAEL T. FLYNN, Crim. No. 17-232 (EGS)

Defendant

 

 

DECLARATION OF SAYLER FLEMING

I, Sayler Fleming, hereby declare as follows, pursuant to 28 U.S.C. § 1746:

1. I am an Assistant United States Attorney (“AUSA”) in the Eastern District of
Missouri (““EDMO”), United States Department of Justice. The purpose of this declaration is to
support the Government’s response to the Court’s October 23, 2020, Minute Order requiring the
government to establish under penalty of perjury that the Government Exhibits and Discovery
Documents are true and correct copies.

2. As the government has previously disclosed, beginning in January 2020, the United
States Attorney for the Eastern District of Missouri has been conducting a review of the Michael
T. Flynn investigation. I have been involved in that review since its inception. During the course
of our review, I have reviewed thousands of pages of documents and records that were provided
to EDMO by the Federal Bureau of Investigation (“FBI”). To the best of my knowledge, those
documents and records were maintained by the FBI pursuant to its records retention policies.

3. Among the documents and records that I reviewed were spreadsheets of electronic
messages exchanged between FBI personnel involved in the Michael T. Flynn investigation and

prosecution. The spreadsheets produced to EDMO contained messages and metadata that were

not relevant to my review.
4, I created Government Exhibit ECF 198-8 and Discovery Document ECF 228-3.

These exhibits truly and correctly reflect excerpts from documents and records maintained by the
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FBI pursuant to the applicable records retention policy that were provided to EDMO/DC-USAO

for review. |

I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 26, 2020

 

LE, i ee :
Sayfér Fleming hae

Assistant United States Attorney
Eastern District of Missouri

 

There is a single typographical error in these exhibits. A single message (“Will do.”)
from DAD Peter Strzok, sent on 4-Jan-17, is incorrectly identified as having been sent at 2:17
PM; the message was actually sent at 2:18 PM. This message appears on the page bearing Bates

No. 23473,
witb
